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                                                            USDC SDNY
                                                            DOCUMENT
                                                            ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                DOC #:
SOUTHERN DISTRICT OF NEW YORK                               DATE FILED: 9/10/2020
EMILY GALLAGHER, SURAJ PATEL,
KATHERINE STABILE, JILLIAN SANTELLA,
AARON SEABRIGHT, JAMES C. MCNAMEE,
KRISTIN SAGE ROCKERMAN, MARIA
BARVA, MIRIAM LAZEWATSKY, MYLES
PETERSON, SAMANTHA PINSKY, CHRISTIAN
O’TOOLE, TESS HARKIN, CAITLIN PHUNG,
ANTONIO PONTEX-NUNEZ, individually and on
behalf of all others similarly situated,                         20 Civ. 5504 (AT)

                                                                    ORDER
                              Plaintiffs,
              -against-

NEW YORK STATE BOARD OF ELECTIONS; PETER
S. KOSINSKI, ANDREW SPANO, AND DOUGLAS
KELLNER, individually and in their official capacities as
Commissioners of the New York State Board of Elections;
TODD D. VALENTINE, ROBERT A. BREHM,
individually and in their official capacities as Co-
Executive Directors of the New York State Board of
Elections; and ANDREW CUOMO as Governor of the
State of New York,

                      Defendants.
MARIA D. KAUFER and ETHAN FELDER,

                              Plaintiff-Intervenors,
              -against-

NEW YORK STATE BOARD OF ELECTIONS; PETER
S. KOSINSKI, ANDREW SPANO, AND DOUGLAS
KELLNER, individually and in their official capacities as
Commissioners of the New York State Board of Elections;
TODD D. VALENTINE, ROBERT A. BREHM,
individually and in their official capacities as Co-
Executive Directors of the New York State Board of
Elections; and ANDREW CUOMO as Governor of the
State of New York; NEW YORK CITY BOARD OF
ELECTIONS; PATRICIA ANNE TAYLOR individually
and as President of the New York City Board of Elections;
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and MICHAEL J. RYAN, individually and as the
Executive Director of the New York City Board of
Elections,

                              Defendants.

ANALISA TORRES, District Judge:

       The Court has reviewed the parties’ letters at ECF Nos. 101, 106, 107. Plaintiff-
Intervenors’ requests for a pre-motion conference and an order directing the City Defendants to
produce uncounted envelopes are DENIED.

       SO ORDERED.

Dated: September 10, 2020
       New York, New York
